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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 17-cr-00168-CMA

UNITED STATES OF AMERICA,

              Plaintiff,

v.

1.     KAREN MCCLAFLIN,

           Defendant.
_____________________________________________________________________

  MOTION FOR FORTHWITH APPOINTMENT OF COUNSEL PURSUANT TO THE
                 CRIMINAL JUSTICE ACT 18 U.S.C. §3006A
_____________________________________________________________________

       Thomas J. Hammond, currently appearing pro bono on behalf of Ms. McClaflin,

moves this Court for a forthwith order to be appointed as counsel for the January 14,

2019 hearing. In support of this motion, Ms. McClaflin states the following:

       1.     Undersigned counsel has appeared pro bono, on behalf of Ms. McClaflin

since May 17, 2018.

       2.     On June 5, 2018, this Court accepted Ms. McClaflin’s Motion to Proceed

in Forma Pauperis (Doc. #45) and her CJA Financial Affidavit (Doc. 46), and appointed

counsel to represent Ms. McClaflin for purposes of appeal.

       3.     Undersigned counsel can not continue to represent Ms. McClaflin pro

bono. The Court has ordered an evidentiary hearing in which Ms. McClaflin has the

burden to provide in-court testimony from her doctors (Doc. #56). Counsel has received

information that at least one doctor intends to bill counsel $500.00 per hour for travel

and in-court testimony. Counsel cannot cover the cost of service of subpoenas let

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alone the cost of in-court testimony.

       4.     Since November 28, 2018, counsel has been in his office on an extremely

limited basis due to personal family medical issues and has not been able to address

the motion for court appointment until now.

       WHEREFORE, undersigned counsel moves to be court appointed forthwith to

represent Ms. McClaflin, pursuant to the standards set forth in the Criminal Justice Act,

18 U.S.C. § 3006A.

                                                  Respectfully submitted,

                                                  s/ Thomas J. Hammond
                                                  Thomas J. Hammond
                                                  Thomas J. Hammond, P.C.
                                                  1544 Race Street
                                                  Denver, Colorado 80206
                                                  303-321-7902
                                                  Fax: (303)329-5871
                                                  Email: hammondlaw@solucian.com

                                                  Attorney for Karen McClaflin



                              CERTIFICATE OF SERVICE

       I hereby certify that on December 28, 2018, I electronically filed the foregoing
MOTION FOR FORTHWITH APPOINTMENT OF COUNSEL PURSUANT TO THE
CRIMINAL JUSTICE ACT 18 U.S.C. §3006A with the Clerk of the Court using the
CM/ECF filing system which will send notification of such filing to the appropriate
parties.



s/ Thomas J. Hammond
Thomas J. Hammond




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